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                     IN THE UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF TEXAS
                              MARSHALL DIVISION

    NETLIST, INC.,                      )
                                        )
                Plaintiff,              )
                                        )
                                             Civil Action No. 2:21-CV-463-JRG
          vs.                           )
                                        )
                                             JURY TRIAL DEMANDED
    SAMSUNG ELECTRONICS CO., LTD.,      )
    SAMSUNG ELECTRONICS AMERICA,        )
    INC., SAMSUNG SEMICONDUCTOR,        )
    INC.,                               )
                                        )
                Defendants.             )

      DECLARATION OF JASON G. SHEASBY IN SUPPORT OF NETLIST INC.’S
     OPPOSITION TO DEFENDANTS’ MOTION TO SEVER AND STAY PATENTS
                    AT ISSUE IN DELAWARE (ECF NO. 26)




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    I, Jason G. Sheasby, declare as follows:

              1.    I am an attorney at the law firm of Irell & Manella LLP, counsel of record for

    Plaintiff Netlist, Inc. (“Netlist”) in the above-captioned action. I am a member in good standing

    of the State Bar of California and have been admitted to practice pro hac vice before this Court in

    this action. I provide this declaration in support of Netlist’s Opposition to Defendants’ Motion

    to Sever and Stay Patents at Issue in Delaware (ECF No. 26). I have personal knowledge of the

    facts stated herein, and could and would testify completely thereto if called as a witness in this

    matter.

              2.    Attached as Exhibit 1 is a true and correct copy of the Court’s Order re: Motions

    for Summary Judgment and Related Applications from Netlist Inc. v. Samsung Elecs. Co., Ltd., Case

    No. 8:20-cv-993-MCS (C.D. Cal. Oct. 14, 2021).

              3.    Attached as Exhibit 2 is a true and correct copy of a document titled

    “ONESTOP REPORT Samsung Austin Semiconductor, L.L.C.”

              4.    Attached as Exhibit 3 is a true and correct copy of Netlist’s Motion to Dismiss

    Plaintiffs’ First Amended Complaint (Dkt. 24) and Netlist’s Opening Brief in Support of Netlist’s

    Motion to Dismiss Plaintiffs’ First Amended Complaint (Dkt. 25) in Samsung Elec. Co. v. Netlist,

    Inc., No. 1:21-cv-01453-RGA (D. Del.) (“Delaware Action”).

              5.    Attached as Exhibit 4 is a true and correct copy of Netlist’s Answering Brief in

    Opposition to Plaintiffs’ Motion for Leave to File Second Amended Complaint in the Delaware

    Action, Dkt. 21.

              6.    Attached as Exhibit 5 is a true and correct copy of a print-out of the webpage

    https://www.tomshardware.com/features/ddr5-vs-ddr4-is-it-time-to-upgrade-your-ram

    (retrieved June 16, 2022).




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            7.      Attached as Exhibit 6 is a true and correct copy of a print-out of the webpage

    https://www.jedec.org/category/technology-focus-area/main-memory-ddr3-ddr4-sdram

    (retrieved June 16, 2022).

            8.      Attached as Exhibit 7 is a true and correct copy of U.S. Patent No. 10,949,339.

            9.      Attached as Exhibit 8 is a true and correct copy of U.S. Patent No. 10,860,506.

            10.     Attached as Exhibit 9 is a true and correct copy of the inter partes reexamination

    certificate for U.S. Patent No. 7,619,912.

            11.     Attached as Exhibit 10 is a true and correct copy of U.S. Patent No. 10,474,595.

            12.     Attached as Exhibit 11 is a true and correct copy of U.S. Patent No. 9,858,218.

            13.     Attached as Exhibit 12 is a true and correct copy U.S. Patent No. 10,217,523.

            14.     Attached as Exhibit 13 is a true and correct copy of Samsung’s Initial and

    Additional Disclosures served on Netlist in this Action on June 8, 2022.

            15.     Attached as Exhibit 14 is a true and correct copy of the Declaration of Mr.

    Junseon Yoon submitted by Samsung Electronics Co., Ltd. and Samsung Semiconductor Inc. in

    the Delaware Action, Dkt. 23.

            16.     Attached as Exhibit 15 is a true and correct copy of an excerpt from the JEDEC

    Manual of Organization and Procedure, JM21T.

            17.     Attached as Exhibit 16 is a true and correct copy of a report generated by Docket

    Navigator on June 15, 2022, available at https://search.docketnavigator.com/patent/

    judge/1625/2.

            18.     Attached as Exhibit 17 are true and correct copies of print-outs of LinkedIn

    Profiles for witnesses identified in Netlist’s Initial and Additional Disclosures.

            19.     Attached as Exhibit 18 is a true and correct copy of U.S. Patent No. 11,016,918.

            I declare under penalty of perjury under the laws of the United States of America that the

    foregoing is true and correct.

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          Executed on June 17, 2022 in Los Angeles, California.

                                                  By /s/ Jason G. Sheasby

                                                         Jason G. Sheasby




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